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 1                       UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
 2
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 3                                       )
        United States of America,        ) File No. 20-MJ-222
 4                                       ) (DTS)
                Plaintiff,               )
 5                                       ) Minneapolis, Minnesota
        vs.                              ) March 24, 2020
 6                                       ) 1:45 p.m.
        Muhammad Masood,                 ) Courtroom 9E
 7                                       )
                Defendant.               )
 8                                       )
       -----------------------------------------------------------
 9
                    BEFORE THE HONORABLE DAVID T. SCHULTZ
10              UNITED STATES DISTRICT COURT MAGISTRATE JUDGE
                             (DETENTION HEARING)
11
       APPEARANCES
12      For the Plaintiff:            Assistant United State Attorney
                                      ANDREW WINTER, AUSA
13                                    300 South Fourth Street
                                      Suite 600
14                                    Minneapolis, Minnesota 55415

15      For the Defendant:            Law Office of Jordan S. Kushner
                                      JORDAN S. KUSHNER, ESQ.
16                                    431 South 7th Street
                                      Suite 2446
17                                    Minneapolis, MN 55415

18      Court Reporter:               MARIA V. WEINBECK, RMR-FCRR
                                      1005 U.S. Courthouse
19                                    300 South Fourth Street
                                      Minneapolis, Minnesota 55415
20

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23
           Proceedings reported by court reporter; transcript
24     produced by computer.

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 1                            P R O C E E D I N G S

 2                                IN OPEN COURT

 3                                  (1:45 p.m.)

 4                 THE COURT:    Good afternoon.    Please be seated.

 5                 All right.    Good afternoon.    We are on the record

 6     in the matter of the United States versus Muhammad Masood,

 7     MJ No. 20-222.    Counsel for the government, if you will note

 8     your appearance for the record, please.

 9                 MR. WINTER:    Good afternoon, Your Honor.         Andrew

10     Winter appearing on behalf of the United States.

11                 THE COURT:    Good afternoon, Mr. Winter.      And for

12     the defendant?

13                 MR. KUSHNER:    Good afternoon.     Jordan Kushner

14     representing Mr. Masood.

15                 THE COURT:    Good afternoon, Mr. Kushner.

16                 Let's start, first of all, before I find out or be

17     brought up to speed, let me make sure Mr. Masood can see and

18     hear me.   Can you hear me, Mr. Masood?

19                 THE DEFENDANT:    Yes, sir.

20                 THE COURT:    Okay.   And can you see me on the

21     screen?

22                 THE DEFENDANT:    Yes, sir.

23                 THE COURT:    Can you hear and see both the

24     prosecutor, Mr. Winter, if you will raise your hand.            Can

25     you see him?



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 1                 THE DEFENDANT:    Yes, sir.

 2                 THE COURT:   And can you see Mr. Kushner, your

 3     attorney?

 4                 THE DEFENDANT:    I can partially see him.

 5                 THE COURT:   Why don't you come over to this side

 6     of the table if you would, Mr. Kushner.        Thank you.

 7                 THE DEFENDANT:    All right.    Thank you.

 8                 THE COURT:   We're just rearranging some furniture

 9     here.   Bear with us.

10                 All right.   Can you see Mr. Kushner now?

11                 THE DEFENDANT:    Yes.

12                 THE COURT:   Okay, all right.      So I understand,

13     Mr. Kushner, you are privately retained; is that correct?

14                 MR. KUSHNER:    That's correct.

15                 THE COURT:   All right.    And, Ms. Atwal, are you

16     formally withdrawing or how are we proceeding with

17     representation?

18                 MS. ATWAL:   Your Honor, now that Mr. Kushner has

19     filed a certificate, the public defender would be

20     discharged.

21                 THE COURT:   Okay.    Very well.    We are here for a

22     preliminary and detention.       However, are we waiving that?

23     Is that correct, Mr. Kushner?

24                 MR. KUSHNER:    That's correct, Judge.

25                 THE COURT:   Okay.    All right.    With that, let me



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 1     inquire and make sure that the defendant is making a knowing

 2     and voluntary waiver.

 3                 Mr. Masood, I know that you have been speaking

 4     with your lawyers.     You have a right to have a hearing on

 5     the issue of whether there is probable cause in the Criminal

 6     Complaint to support the charges and also a right to a

 7     hearing on whether you shall be detained pending the trial

 8     on those charges should there be probable cause found.         You

 9     have that right to a hearing.       You have the right to

10     confront witnesses to it.

11                 Your attorney is advising the Court that you wish

12     to waive the right to the hearing and go forward straight to

13     the rest of the process.      And I want to make sure that you

14     are in fact agreeing to waive your hearing both on detention

15     and on probable cause.      Are you doing that, sir?

16                 THE DEFENDANT:    I'm waiving detention and --

17     (indiscernible).

18                 THE COURT:   The answer is yes?

19                 THE DEFENDANT:    Yes, sir.

20                 THE COURT:   Okay.    I'm sorry to make you do this

21     but just for the sake of record, is there a microphone near

22     you?   Can you see a microphone?

23                 THE DEFENDANT:    Yes, sir.

24                 THE COURT:   Okay.    And I just need you to repeat

25     your answer, so it's audible, so we can make sure that it's



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 1     accurately recorded.      Are you agreeing to waive your right

 2     to a hearing on pretrial detention and on probable cause at

 3     this juncture?

 4                  THE DEFENDANT:   Sir, I really don't --

 5     Mr. Kushner, (indiscernible), I didn't hear that, so one

 6     more time?

 7                  THE COURT:   I'm sorry, Mr. Masood, I can't quite

 8     make out what you're saying.

 9                  THE DEFENDANT:   Sir, Mr. Kushner, my lawyer he

10     screwed up.    He said something.     I need to rehear that.

11                  THE COURT:   Do you need to consult with your

12     client, Mr. Kushner?

13                  THE CLERK:   Mr. Kushner, will you speak into the

14     microphone?

15                  THE COURT:   Use the microphone.

16                  MR. KUSHNER:   Mr. Masood, are you able to hear me

17     clearly now?    Can you hear me clearly?

18                  THE DEFENDANT:   Yes, sir.

19                  MR. KUSHNER:   So when I stood up, I was confirming

20     for the Judge that you were waiving your right to a hearing

21     on probable cause and detention.       And now he's asking you to

22     confirm that you're waiving that right, and he didn't hear

23     your answer.    So can you confirm that you're waiving the

24     right, that you're waiving your rights?

25                  THE DEFENDANT:   Yes, sir.    Yes, I am doing that.



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 1                 THE COURT:    Okay, thank you, Mr. Kushner.        Thank

 2     you, Mr. Masood.     One last question for you, sir.       Is anyone

 3     making any threats against you or making any promises to you

 4     to get you to waive your rights to those preliminary

 5     hearings and detention hearings?

 6                 THE DEFENDANT:    No, sir.

 7                 THE COURT:    Okay.   Very well.    Thank you,

 8     Mr. Masood.    I find that the defendant has made a knowing

 9     and voluntary waiver of the right to a detention hearing and

10     a preliminary hearing.

11                 Is there anything further at this time for the

12     government, Mr. Winter?

13                 MR. WINTER:    Just, Your Honor, I wanted to just

14     briefly touch on, just get confirmation from newly appointed

15     counsel, or counsel for Mr. Masood, that he's willing to

16     abide by the order that was just filed on I believe it was

17     Friday -- Thursday or Friday.

18                 THE COURT:    General Order Number 3?     Or the

19     Protective Order?     The Protective Order.

20                 MR. WINTER:    The Protective Order.     And we've had

21     a conversation, and I believe that he's prepared to agree to

22     that.   And if we've got logistics issues, we're going to

23     work with Mr. Kushner on that.

24                 MR. KUSHNER:    Judge, I just got a copy of the

25     Protective Order before when I came to court.         I have not



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 1     had a chance to read through the entire Order yet.             I have

 2     no problem in principle with agreeing to a Protective Order

 3     to keep information confidential, and so what I can tell you

 4     is if I find any problems with it, I'll bring it to the

 5     attention of the Court but will not disobey it.

 6                 There is one problem with the Protective Order

 7     that Ms. Atwal brought my attention to that I think needs to

 8     be corrected.    Does the Court want to hear about that?

 9                 THE COURT:    Sure, I'll hear about that now, but,

10     Mr. Winter, you were going to say something?

11                 MR. WINTER:    Well, Your Honor, the Motion and

12     Order is under seal.

13                 THE COURT:    Right.

14                 MR. WINTER:    What I would prefer is simply we can

15     do this through the Court, but do it continued under seal.

16                 THE COURT:    Yes, I don't know what you're issue

17     will be, so in an abundance of caution perhaps we should do

18     it through the ECF procedure under seal, and see if we can

19     resolve whatever the issue is.       Okay?

20                 MR. KUSHNER:    I think it's going to be resolved.

21     I just wanted to put it on the record to protect myself.

22     Mr. Winter is familiar with the issue.        Is it okay if I just

23     put the specific issue on the record?

24                 MR. WINTER:    Yes, I think the narrow issue is

25     fine, Your Honor.



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 1                 THE COURT:    Okay, hang on, everyone.      Go on over

 2     to the podium, Mr. Kushner.

 3                 Mr. Masood, were you able to hear all of that

 4     interchange?

 5                 THE DEFENDANT:    Sir, I missed some of what

 6     Mr. Winter is saying.      (Indiscernible) some of that I think

 7     I'm fine with that.      Let's proceed.

 8                 THE COURT:    Okay.     Let me just summarize just to

 9     make sure everybody is on the same page.         So the only other

10     issue that was raised was Mr. Winter wanted to make sure

11     that Mr. Kushner your lawyer was agreeing to abide by

12     certain orders of the Court.        Mr. Kushner has a concern

13     about one aspect of one of those orders, and he's about to

14     put that on the record, and the Court will resolve that

15     concern in due course.      Okay?

16                 It's not a matter that effects the proceedings

17     today nor one that effects your ability to amount a defense,

18     but go ahead, Mr. Kushner, if you will, please, and make

19     sure you speak clearly and loudly and slowly into the

20     microphone.

21                 MR. KUSHNER:    All right.    So the issue isn't --

22                 THE DEFENDANT:    Thank you for summarizing that,

23     sir.

24                 THE COURT:    Pardon me?

25                 THE DEFENDANT:    Thank you for summarizing that.



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 1                  THE COURT:    Yes.

 2                  MR. KUSHNER:   So the issue is in paragraph 5 of

 3     the Order.    And it has a provision that only allows the

 4     defendant to review protected information in the presence of

 5     his attorney.     I have a problem with that in general, but

 6     it's absolutely impossible to carry out now in any event

 7     because the jail isn't allowing any contact visits, so we'll

 8     need to delete that provision.

 9                  THE COURT:    Or we'll need to address it in one

10     fashion or another whether it's through the definition of

11     presence or what have you, but why don't you two confer and

12     then if there's an issue that the Court needs to resolve,

13     I'll resolve it, okay?

14                  MR. WINTER:    Thank you, Your Honor.

15                  THE COURT:    Okay.   Anything further, Mr. Kushner?

16                  MR. KUSHNER:   Nothing further at this time.

17                  THE COURT:    Okay.   Thank you.   All right, go ahead

18     and be seated.

19                  With that, if there's nothing else, we are in

20     recess.   Okay?    Thank you.

21                       (Court adjourned at 1:55 p.m.)

22

23                                 *      *     *

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 1                           REPORTER'S CERTIFICATE

 2                I, Maria V. Weinbeck, certify that the foregoing is

 3     a correct transcript from the record of proceedings in the

 4     above-entitled matter.

 5

 6                      Certified by:    s/ Maria V. Weinbeck

 7                                       Maria V. Weinbeck, RMR-FCRR

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